25 F.3d 1115
    306 U.S.App.D.C. 409
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Maxwell S. KRAFT, Appellant.
    No. 92-3235.
    United States Court of Appeals, District of Columbia Circuit.
    May 31, 1994.
    
      Before:  EDWARDS, GINSBURG, and HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of appellant's motion to dismiss appeal as moot and to remand, and the government's response thereto, it is
    
    
      2
      ORDERED that this appeal be dismissed as moot and the judgment of conviction vacated.   See Durham v. United States, 401 U.S. 481, 483 (1971).  It is
    
    
      3
      FURTHER ORDERED that the case be remanded to the district court for dismissal of the indictment.
    
    
      4
      The Clerk is directed to issue forthwith to the district court a certified copy of this order in lieu of formal mandate.
    
    